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                   EXHIBIT V
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  Exhibit V – SEALED - MCKMDL00353376



  PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE MARKETING
  OPINIONS OF DRS. ANNA LEMBKE, KATHERINE KEYES, ANDREW KOLODNY, AND JAKKI
  MOHR




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